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                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF SOUTH CAROLINA
                                              FLORENCE DIVISION


             FRANK SEARCH and ROBERT ROSE,
             on behalf of themselves and all others
             similarly situated,

                                     Plaintiffs,

                       v.                                           Docket No.: 4:18-CV-01941-RBH

             MATERIAL TRANSPORT, LLC,
             a domestic corporation, and
             KIMBERLY M. CHERRY, an individual,

                                     Defendants.


                            AFFIDAVIT OF DAMAGES OF PLAINTIFF FRANK SEARCH

                       1.   My name is Frank Search. I am over eighteen years of age and am competent to

            testify.

                       2.   I am a named Plaintiff in the above-captioned matter.

                       3.   I make this affidavit based on personal knowledge.

                       4.   From approximately August 2014 until approximately October 2016, I worked as

            a driver for Defendants Material Transport, LLC, and Kimberly M. Cherry.

                       5.   I worked approximately 52 weeks during the applicable limitations period.

                       6.   During that time, I worked an average of 65 hours per week.

                       7.   Defendants paid me at a rate of $15 per hour when I hauled asphalt.

                       8.   Since I was paid at a regular rate of $15 per hour, I was entitled to an overtime

            premium of $7.50.

                       9.   During the applicable limitations period, I worked approximately 1,300 hours of

            overtime, for which I was not paid an overtime premium.
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                    10.      Accordingly, I am owed approximately $9,750 by Defendants for my overtime

            hours during the applicable limitations period.

                    11.      Because Defendants knowingly and willfully failed to pay overtime wages, I am

            also entitled to the same amount in liquidated damages.

                    12.      Defendants also agreed to pay me 22% of “what my truck earned” when I hauled

            raw materials.

                    13.      Defendants underpaid me by approximately $10,500 under this agreement.

                    14.      I am therefore owed a total of $30,000 in damages.

                    15.      Defendants are also liable for my attorneys’ reasonable fees and expenses, pursuant

            to 29 U.S.C. § 216(b).



                    I declare under penalty of perjury that the foregoing statements are true and correct, to the

            best of my knowledge, recollection, and ability.



                    1/21/2019
            Dated: ___________                                 _____________________________
                                                                       Frank Search
